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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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SONTERRA CAPITAL MASTER FUND LTD.,                              :
FRONTPOINT EUROPEAN FUND, L.P.,                                 :
FRONTPOINT FINANCIAL SERVICES FUND, :
L.P., FRONTPOINT HEALTHCARE FLAGSHIP : Case No. 15-cv-00871 (SHS)
ENHANCED FUND, L.P., FRONTPOINT                                 :
HEALTHCARE FLAGSHIP FUND, L.P.,                                 :
FRONTPOINT HEALTHCARE HORIZONS                                  :
FUND, L.P., FRONTPOINT FINANCIAL                                :
HORIZONS FUND, L.P., FRONTPOINT UTILITY : NOTICE OF APPEARANCE
AND ENERGY FUND L.P., HUNTER GLOBAL :
INVESTORS FUND I, L.P., HUNTER GLOBAL :
INVESTORS OFFSHORE FUND LTD., HUNTER :
GLOBAL INVESTORS SRI FUND LTD., HG                              :
HOLDINGS II LTD., HG HOLDINGS II LTD.,                          :
FRANK DIVITTO, RICHARD DENNIS, and the :
CALIFORNIA STATE TEACHERS’                                      :
RETIREMENT SYSTEM on behalf of themselves :
and all others similarly situated,                              :
                                                                :
                           Plaintiffs,                          :
                                                                :
                  v.                                            :
                                                                :
CREDIT SUISSE GROUP AG, CREDIT SUISSE :
AG, JPMORGAN CHASE & CO., THE ROYAL :
BANK OF SCOTLAND PLC, UBS AG,                                   :
DEUTSCHE BANK AG, DB GROUP SERVICES :
UK LIMITED, TP ICAP PLC, TULLETT PREBON :
AMERICAS CORP., TULLETT PREBON (USA) :
INC., TULLETT PREBON FINANCIAL                                  :
SERVICES LLC, TULLETT PREBON (EUROPE) :
LIMITED, COSMOREX AG, ICAP EUROPE                               :
LIMITED, ICAP SECURITIES USA LLC, NEX                           :
GROUP PLC, INTERCAPITAL CAPITAL                                 :
MARKETS LLC, GOTTEX BROKERS SA,                                 :
VELCOR SA AND JOHN DOE NOS. 1-50,                               :
                                                                :
                           Defendants.                          :
                                                                :
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       PLEASE TAKE NOTICE that Matthew M. Riccardi of Richards Kibbe & Orbe LLP

hereby enters his appearance as counsel of record for Defendant Gottex Brokers SA in the

above-captioned action without waiver of any defenses including the defense of lack of personal

jurisdiction. I certify that I am admitted to practice in this Court.

Dated: New York, New York
       March 22, 2018

                                               RICHARDS KIBBE & ORBE LLP


                                               By: /s/ Matthew M. Riccardi
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                                               Attorneys for Defendant Gottex Brokers SA




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